                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


WILLIAM DESENA and
SANDRA W. DUNHAM,
Plaintiffs
                                               Civil Action No. 1:11-cv-00117-GZS-DBH-BMS

       Vs.


STATE OF MAINE, PAUL LEPAGE,
KEVIN RAYE, ROBERT NUTTING,
CHARLES E. SUMMERS, JR.,
Defendants

                       ANSWER OF MAINE DEMOCRATIC PARTY

       NOW COMES the Maine Democratic Party, by and through its undersigned counsel, and

responds to Plaintiffs’ Complaint for Declaratory and Injunctive Relief as follows:

       1.      The allegations set forth in Paragraph 1 are conclusions of law within the

jurisdiction of the Court and do not require an answer of the Maine Democratic Party. To the

extent that an answer is required, the Maine Democratic Party is without specific knowledge or

information sufficient to form a belief about the truth of the allegations.

       2.      Paragraph 2 of Plaintiffs’ Complaint is a conclusion of law within the jurisdiction

of the Court and does not require an answer by the Maine Democratic Party. To the extent that

an answer is required, the Maine Democratic Party denies the same.

       3.      The Maine Democratic Party admits the allegations contained in the first sentence

of Paragraph 3 of Plaintiffs’ Complaint. The remainder of Paragraph 3 is a conclusion of law

within the jurisdiction of the Court and does not require an answer. To the extent that an answer

is required, the Maine Democratic Party denies the same.




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       4.      The Maine Democratic Party admits the allegations contained in the first two

sentences of Paragraph 4 of Plaintiffs’ Complaint. The remainder of Paragraph 4 is a conclusion

of law within the jurisdiction of the Court and does not require an answer. To the extent that an

answer is required, the Maine Democratic Party denies the same.

       5.      Paragraph 5 of Plaintiffs’ Complaint is a request for relief and does not require an

answer.

       6.      The Maine Democratic Party admits the allegations contained in Paragraph 6 of

Plaintiffs’ Complaint.

       7.      The Maine Democratic Party admits the allegations contained in Paragraph 7 of

Plaintiffs’ Complaint.

       8.      The Maine Democratic Party admits the allegations contained in Paragraph 8 of

Plaintiffs’ Complaint.

       9.      The Maine Democratic Party admits the allegations contained in Paragraph 9 of

Plaintiffs’ Complaint.

       10.     The Maine Democratic Party admits the allegations contained in Paragraph 10 of

Plaintiffs’ Complaint.

       11.     The Maine Democratic Party admits the allegations contained in Paragraph 11 of

Plaintiffs’ Complaint.

       12.     The Maine Democratic Party admits the allegations contained in Paragraph 12 of

Plaintiffs’ Complaint.

       13.     The Maine Democratic Party admits the allegations contained in Paragraph 13 of

Plaintiffs’ Complaint.




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       14.     The Maine Democratic Party admits the allegations contained in Paragraph 14 of

Plaintiffs’ Complaint.

       15.     The Maine Democratic Party admits the allegations contained in Paragraph 15 of

Plaintiffs’ Complaint.

       16.     The Maine Democratic Party admits the allegations contained in Paragraph 16 of

Plaintiffs’ Complaint.

       17.     The Maine Democratic Party admits the allegations contained in Paragraph 17 of

Plaintiffs’ Complaint.

       18.     The Maine Democratic Party admits that the Maine Legislature is tasked with

redrawing the Congressional Districts, but asserts that it is the 126th Session, not the 125th

Session, that is charged by law with that task.

       19.     The Maine Democratic admits the allegations contained in Paragraph 19 of

Plaintiffs’ Complaint.

       20.     The Maine Democratic Party is without sufficient knowledge or information to

answer the allegations contained in Paragraph 20 of Plaintiffs’ Complaint.

       21.     The Maine Democratic Party admits the allegations contained in the first two

sentences of Paragraph 21 of Plaintiffs’ Complaint, and is without sufficient knowledge or

information to answer the remaining allegations contained therein.

       22.     Paragraph 22 of Plaintiffs’ Complaint is a conclusion of law within the

jurisdiction of the Court and does not require an answer by the Maine Democratic Party. To the

extent that an answer is required, the Maine Democratic Party denies the same.




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        23.     Paragraph 23 of Plaintiffs’ Complaint is a conclusion of law within the

jurisdiction of the Court and does not require an answer by the Maine Democratic Party. To the

extent that an answer is required, the Maine Democratic Party denies the same.

        24.     Paragraph 24 of Plaintiffs’ Complaint is a conclusion of law within the

jurisdiction of the Court and does not require an answer by the Maine Democratic Party. To the

extent that an answer is required, the Maine Democratic Party denies the same.

        25.     The Maine Democratic Party reasserts and realleges Paragraphs 1 through 24 as if

fully set forth herein.

        26.     Paragraph 26 of Plaintiffs’ Complaint is a conclusion of law within the

jurisdiction of the Court and does not require an answer by the Maine Democratic Party. To the

extent that an answer is required, the Maine Democratic Party denies the same.

        27.     Paragraph 27 of Plaintiffs’ Complaint is a conclusion of law within the

jurisdiction of the Court and does not require an answer by the Maine Democratic Party. To the

extent that an answer is required, the Maine Democratic Party denies the same.

        WHEREFORE, the undersigned respectfully moves that the Court permit the Maine

Democratic Party and be heard on the substantive issues in this matter and on any proposed

remedy should the Court find constitutional infirmities with the current apportionment schedule.

                                              Respectfully submitted,
Dated April 26, 2011
                                              s/s Janet T. Mills__________________________
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